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Case 1:11-01-00074-RDB Document 56 Filed 06/13/11 Page 1 of 7

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June B, 201 i

Thomas Crowe, Esq.

401 E. Prat't Street

1622 The World Trade Center
Baitlmore, MD 21202

Re: United States v. Umar Burley
Crim. No. RDB-l 1-0074

Dear Mr. Crowe:

This letter, together with the Sealed Supplement, confirms the plea agreement which has been
offered to the Defendant by the United States Attomey’ s Oi`fice for the District of Maryland (“this
Ofiice”). li` the Defendant accepts this offer, please have him execute it in the spaces provided
below. lfthis offer has not been accepted by June 9, 201 1, it will be deemed withdrawn. The terms
of the agreement are as follows:

Offense of Conviction

l. 'l`he Det`endant agrees to plead guilty to Count Two of the lndictment now
pending against him, which charges him with possession with intent-to distribute a quantity a
mixture or substance containing a detectable amount of heroin, a Sc hedule l controlled substance in
violation of 21 U.S.C. §841(3)(1). The Defendant admits that he is, in fact, guiltyl of that offense and
will so advise the Court.

Elements cf the Offense

2. The elements ofthe offense to which the Defenclant has agreed to plead guilty,
and which this Ofiice would prove if the case went to trial, are as follows:

 

 

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Case 1:11-cr-OOO74-RDB Document 56 Filed 06/13/11 Page 2 of 7

a. That on or about the date charged in the lndictment, in the District of

' Mary|and, the defendant possessed a controlled substance,
specifically heroin;

That the defendant knew the substance was a controlled substance; and

c. That the Det`cndant intended to distribute the heroin.
Penalties
3. The maximum sentence provided by statute for the offense to which the

Defendant is pleading guilty is as follows: Twcnty years, a fine of $l, 000, 000 and 3 years of
supervised release ln addition the Defendant must pay $100 as a special assessment pursuant to '

18 U. S. C. § 3013 which will be due and should be paid at or before the time ofsentencing. This -._
Court may also order him to make restitution pursuant to 18 U. S. C. §§ 3663, 3663A, and 3664.'11`
a fine or restitution is imposed, it shall be payable immediately, unless, pursuant to 18 U.S.C. §
3572(d), the Court orders otherwise The Defendant understands that if he serves a term of
imprisonment, is released on supervised release, and then violates the conditions of his supervised
release, his supervised release could be revoked - even on the last day of the term - and the
Defendant could be returned to custody to serve another period of incarceration and a new term of
supervised release. The Def`endant understands that the Bureau o`f Prisons has sole discretion in
designating the institution at which the Defendant will serve any term of imprisonment imposed.

Waiver of Rights

4. The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. lf the Defendant had persisted in his plea of not guilty, he would have
had the right to a speedyjury trial with the close assistance of competent counsel. That trial could
be conducted by a judge, without ajury, if the Def`endant, this Office, and the Court all agreed

b. lfthe Defendant elected ajury trial, the jury would-be composed of
twelve individuals selected from the community Counscl and the Defendant' would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity to strike a certain number of jurors peremptorily. All
twelvejurors would have to agree unanimously before the Defendant could be found guilty of any
count. The jury would be instructed that the Defendant was presumed to be innocent, and that
presumption could be overcome only by proof beyond a reasonable doubt.

c. lf the Defendant went to trial, the government would have the burden

 

' Pursuant to 18 U.S.C. § 3612, ifthe Court imposes a fine in excess 0i`$2,500 that
remains unpaid 15 days after it is imposed, the Defendant shall be charged interest on that tine,
unless the Court modifies the interest payment in accordance with 18 U.S.C. § 3612(1`)(3).

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Case 1:11-cr-OOO74-RDB Document 56 Filed 06/13/11 Page 3 of 7

of proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the govemment’s witnesses The Defendant would not have to present
any defense witnesses or evidence whatsoever.‘ If the Defendant wanted to call witnesses in his
defense, however, he would have the subpoena power of the Court to compel the witnesses to attend.

d. The Defendant would have the right to testify in his own defense if he
so chose, and he would have the right to refuse to testify. lf he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

e. If the Defendant were found guilty after a trial, he would have the right
to appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to '
see if any errors were committed which would require a new trial or dismissal ofthe charges against .,
him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the
Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence By pleading guilty, the Defendant understands that he may have to
answer the Court’s questions both about the rights he is giving up 'and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. lf the Court accepts the Defendant’s plea of guilty, there will be no
further trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant will also be giving up certain
valuable civil rights and may be subject to deportation or other loss of immigration status.

“C" Plea: Adviso[y Sentencing Guidelines Apply

5. The parties stipulate and agree pursuant to Ruie ll(c)(t)(C) of the Federal
Rules of Crimina| Procedure the sentence outlined in paragraph 8 is an appropriate disposition of
the case. The Defendant understands that a sentencing guidelines range for this case (henceforth the
“advisory guidelines range") will be determine by the Court pursuant to_the Sentencing Reforrn Act
ofl984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1)and 3742(e)) and 28 U.S.C.
§§ 991 through 998.

 

 

 

Case 1:11-01-00074-RDB Document 56 Filed 06/13/11 Page 4 of 7

Factual and Advisog,{ Guidelines Stipulation

6. This Office and the Defendant understand, agree and stipulate to the following
Statcrnent of Facts which this Ofiice would prove beyond a reasonable doubt, and to the following
applicable sentencing guidelines factors:

STATEMENT OF FACTS

On Ap_ril 28, 2010 Detectives observed Umar Burley parked at the curb in the 3800 block of
Parkview Avenue in Baltimore, Maryland. Detectives then saw Brent Matthews running toward

Burlcy’s car holding currency in his hand and looking around as if searching for police presence. 7 ' ,

Detectives had received information regarding drug sales in the area. When Matthews entered the
passenger‘s side of the Acura, detectives pulled one police vehicle behind Burley’s Acura and
another vehicle in front of the Acura to investigate the suspected drug sale. Detectives exited their
cars with their badges displayed and told Burley to turn oH` the Acura. Burley did not comply,
instead, he maneuvered the Acura until he was able to get out from between the police cars. Burley
sped away. The officers pursued the Acura at some distance because they were stopping at stop
signs but Burley was not. Officers located Burley’s Acura at the comer of Belle and Gwynn Oak
Avenues resting on a fire hydrant. Burley had struck another vehicle sending that vehicle into the
porch of a nearby house. The driver of the other vehicle died as a result of the crash and the
passenger was seriously injured. When detectives arrived in the area, they observed Burley and
Matthews fleeing from the Acura. Both Burley and Matthews fled on foot and were apprehended
within minutes in the area near the crash site. Detectives searched the Acura and observed 28.62
grams of heroin and a digital scale on the passenger’s side floorboard ofthe vehicle

The parties Stipulate based on facts readily provable by the Governrnent that Burley
possessed the 28.62 grams of heroin and that the heroin was intended for distribution

ADVISORY GUIDELINE STIPULATIQN

The parties stipulate and agree that the Defendant's base offense level is 18 pursuant to
U.S.S.G. §2Dl . l(c)(l l) because the Defendant possessed at least 20 grams but less than 40 grams
of heroin. The Government believes that the Defendant is a career offender pursuant to U.S.S.G.
§4Bl. l. Theref`ore, the Governrncnt believes that the Defendant’s adjusted base offense level is 32
pursuant to U.S.S.G. §4131.1.

This Ofiice does not oppose a two-level reduction in the Defendant’s adjusted offense leve|,
based upon the Defendant’s apparent prompt recognition and affirmative acceptance of personal
responsibility for his criminal conduct However, this Office will not make a motion pursuant to
U.S.S.G. § 3El.1(b) for an additional one-level reduction 'I'his Office may oppose any adjustment
for acceptance of responsibility if the Defendant (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Of`f`tce, or the United States
Probation Office; (c) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in any

 

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Case 1:11-cr-OOO74-RDB Document 56 Filed 06/13/11 Page 5 of 7

criminal conduct between the date of this agreement and the date of sentencing; or (g) attempts to
withdraw his plea of guilty.

7. The Defendant understands that there is no agreement as to his criminal
history or criminal history category, and that his criminal history could alter his offense level if he
is a career offender or if the instant offense was a part of a pattern of criminal conduct from which
he derived a substantial portion of his income.

Rule ll!cl{l}[CLPlea

8. The parties stipulate and agree pursuant to Federal Ruie of Criminal _
Procedure l 1(c)( l )(C) that a sentence of imprisonment of 180 months is the appropriate disposition =.
of this case. This agreement does not affect the Court's discretion to impose any lawful term of
supervised release or to set any lawful conditions of supervised release. The parties further agree
that should the Defendant be sentenced in this case after he is sentenced in the Circuit Court for
Baltimore Cit_y, the 180 month sentence imposed in this case will run concurrent to the sentence in
case number l 10294026. The Defendant expressly understands that the Court is not a party to this
agreement ln the federal system, the sentence is imposed by the Court, and the Court is under no
obligation to accept this plea agreementl ln the event that the Court rejects this agreement, pursuant
to Rule l l (c)($), the Defendant will be informed that he may withdraw his plea. if he persists in the
guilty plea thereafter, the Defendant understands that the disposition of the case may be less
favorable than that contemplated by this agreement

 

Waiver of A_ppeal

9. In exchange for the concessions made by this Office and the Defendant in this
plea agreement, this Office and the Defendant waive their rights to_ appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C.
§ 1291 or otherwise, to appeal the Defendant’s conviction;

b. The Defendant and this Offi ce knowingly waive all right, pursuant to
18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to appeal
any issues that relate to the establishment of the advisory guidelines range, the determination of the
defendant’s criminal history, the weighing of the sentencing factors, and the decision whether to
impose and the calculation of any term of imprisonment, fine, order offorfeiture, order ofrestitution,
and tenn or condition of supervised release), except as follows: th`e Defendant waives his right to
appeal any sentence at or below 180 months incarceration and this Office waives its right to appeal
any sentence at or above 180 months incarceration

c. Nothing in this agreement shall be construed to prevent the Defendant
or this Office from invoking the provisions of Federal Rule of Crimina| Procedure 35(a), or from

 

 

 

 

Case 1:11-cr-OOO74-RDB Document 56 Filed 06/13/11 Page 6 of 7

appealing horn any decision thereunder, should a sentence be imposed that resulted froml
arithmetical, technical, or other clear error.

d. The_Defenclant waives any and all rights under the Freedom of
information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to tile any request for documents from this Oftice or any investigating agency.

Obstruction or Other Violations of Law

10. The Defendant agrees that he will not commit any offense in violation of
federal, state or local law between the date of this agreement and his sentencing in this case. in the '
event that the Defendant (I) engages in conduct after the date of this agreement which would justify
a finding of obstruction of justice under U.S.S.G. § 3Cl .l, 'or (ii) fails to accept personal '
responsibility for his conduct -by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, or (iii) commits any offense in violation of federal, state or local
law, then this Ofiice will be relieved of its obligations to the Defendant as reflected in this
agreement Specifica|ly, this Office will be free to argue sentencing guidelines factors other than
those stipulated in this agreement, and it will also be free to make sentencing recommendations other
than those set out in this agreement As with any alleged breach of this agreement, this Office will
bear the burden of convincing the Court of the Defendant’s obstructive or unlawful behavior and/or
failure to acknowledge personal responsibility by a preponderance of the evidence The Defendant
acknowledges that he may not withdraw his guilty plea because this Office is relieved of its
obligations under the agreement pursuant to this paragraphl

Entire A reement

ll. This letter supersedes any prior understandings, promises, or conditions
between this Offlce and the Defendant and; together with the Sealed rSupplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and this Off\ce other
than those set forth in this letter and the Sealed Supplement and none will be entered into unless in
writing and signed by all parties ' ` `

if the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and retum it to me promptly

Very truly yours,

Rod J. Rosenstein
Uni d States Attorney

 
 
   

By:

istine Celeste
Special Assistant United States Attorney

 

 

 

 

 

 

Case 1:11-cr-OOO74-RDB Document 56 Filed 06/13/11 Page 7 of 7

l have read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attomey. l understand lt, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. l am completely satisfied with the representation of my attorney.

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Date Umar Burley

l am Urnar Burley’s attorney. l have carefi.tily reviewed eve art of this agreement, 'V
including the Sealed Supplement, with him. He advises me that he u erstands and accepts its
terrns. 'l`o my knowledge, his decision to enter into this agreement is an informed and voluntary one.

6/17¢?11!/ MW gu~.__.

Date ' Thomas Crowe, Esq.

 

 

